     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 1 of 20




                    UNITED STATES DISTRJCT COURT
                       DISTRJCT OF MINNESOTA

U.S. COMMODITY FUTURES
TRADING COMMISSION,
              Plaintiff,

v.                               Case No.   09-cv-3332 (MJD/FLN)

TREVOR COOK et al.,
               Defendants,

R.J. ZAYED,
                Receiver.


UNITED STATES SECURJTIES
AND EXCHANGE COMMISSION,
               Plaintiff,

v.                               Case No.   09-cv-3333 (MJD/FLN)

TREVOR G. COOK, et al.,
              Defendants,

R.J. ZAYED,
                Receiver.


UNITED STATES SECURJTIES
AND EXCHANGE COMMISSION,
               Plaintiff,

v.                               Case No.   11-cv-574 (MJD/FLN)

JASON BO-ALAN BECKMAN, et al.,
              Defendants,

R.J. ZAYED,
                Receiver.
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 2 of 20




       MEMORANDUM IN SUPPORT OF RECEIVER'S MOTIONS TO
  (1) APPROVE THE RECEIVER'S FINAL REPORT AND INTERIM FINAL
  ACCOUNTING; (2) ENTER THE FIFTH AMENDED FINAL CLAIMS LIST;
            (3) APPROVE THE FINAL DISTRIBUTION; AND
  (4) APPROVE THE RECEIVER'S PLAN TO CLOSE THE RECEIVERSHIP

                                    INTRODUCTION

       The above-captioned cases were brought as one of the largest Ponzi schemes in

Minnesota history was uncovered. The Court appointed R.J. Zayed as Receiver in these

actions to marshal, preserve, and return recovered assets to the victims of the fraud.

       The Receiver's work was extensive, resulting in bank accounts, real property,

personal property, cash, coins, vehicles, and other assets being seized and liquidated for

the benefit of the victims of this fraud. Because the perpetrators' fraudulent activities

were global, so too was the work of the Receiver, reaching places such as Panama,

Switzerland, the Cayman Islands, Canada, and Jordan. And because the perpetrators

engaged with others of similar ilk, the work of the Receiver caused other frauds to be

uncovered, as well. For example, after the Receiver filed suit against Peregrine Financial

Group ("PFG") for its involvement with this Ponzi scheme, PFG itself was exposed as

having operated its own extensive fraud, resulting in its Chief Executive Officer Russell

R. Wasendorf, Sr. being sentenced to fifty years in prison and PFG dissolved in

bankruptcy. United States ofAmerica v. Wasendorf, CR12-2021 (N.D. Iowa); CFTC v.

Peregrine Fin. Group, Inc., 12-cv-0583 (N.D. Ill.); In re Peregrine Fin. Group, 12 B

27488 (N.D. Ill.). Similarly, James Pieron, the proprietor of JDFX and related entities

that received millions in Receivership funds, has been convicted for tax evasion

stemming from his dealings with Cook in a separate federal criminal case. United States




                                              1
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 3 of 20




ofAmerica v. Pieron, 1:18-cr-20489-TTL-PJM-1 (E.D. Mich.).

       From the onset, the Receiver and the professionals he retained have routinely

reported to the Court and the public about their work under the Court's Receivership

Orders. The Receiver filed Eighteen Status Reports with the Court, and reported

additional details and activities in numerous additional public filings and hearings. In

addition, the Receiver has maintained a public website (www.cookkileyreceiver.com)

where all such filings are posted, as well as answers to Frequently Asked Questions and

other information about the Receivership and the associated criminal cases. With this

Motion, the Receiver submits the Final Report and Interim Final Accounting,

summarizing the work that the Receivership team has performed from November 2009

through November 2019.

       The Receiver now respectfully submits that work under the Court's Receivership

Orders is substantially complete and that it is in the best interest of the victims of this

fraud to make a final distribution and close the Receivership. The Receiver therefore

moves to (1) approve the Receiver's Final Report and Interim Final Accounting; (2) enter

the Fifth Amended Final Claims List; (3) approve the Final Distribution, and (4) approve

the Receiver's plan to close the Receivership.

I.     BACKGROUND

       A.     Overview

       On November 23, 2009, the United States Securities & Exchange Commission

("SEC") and the United States Commodities Futures Trading Commission ("CFTC")

filed civil actions against Trevor G. Cook, Patrick J. Kiley, and entities associated with




                                               2
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 4 of 20




them. SEC v. Cook, et al., 09-cv-3333 (D. Minn.), CFTC v. Cook, et al., 09-cv-3332 (D.

Minn.). Chief Judge Michael J. Davis 1 established a Receivership in the two cases the

day the cases were filed.

       The SEC's civil action against Jason Bo-Alan Beclanan and his entities followed

on March 7, 2011. SEC v. Beckman, et al., 1 l-cv-574 (D. Minn.). The Court extended

the Receivership to that matter, as well.

       R.J. Zayed is the appointed Receiver these three actions and the law firm of

Carlson Caspers serves as the Receiver's main counsel. 2

       The government also brought criminal charges. Cook and Christopher Pettengill

pleaded guilty. United States ofAmerica v. Trevor Gilson Cook, 10-cr-075 (D. Minn.);

United States ofAmerica v. Christopher Pettengill, 11-cr-192 (D. Minn.). Beckman,

Kiley, and Gerald Durand were convicted by a jury. United States ofAmerica v.

Beckman et al., 11-cr-228 (D. Minn.). All are now serving or have served lengthy federal

prison sentences. 3


1 Judge Davis was Chief of the District Court until 2015.
2
  On April 3, 2013, the Court granted the Receiver's request for leave to recuse himself
from the Receiver's case against Associated Bank, and appointed Tara Norgard, Brian
Hayes, and Russell Rigby to act collectively as Receivers in that matter. This recusal was
made to avoid any potential conflict of interest in conjunction with Mr. Zayed' s move to
the law firm of Dorsey & Whitney. In October 2016, Mr. Rigby moved from the District
of Minnesota and the Carlson Caspers firm and ceased in his roles as a Receiver and
counsel in this matter. Mr. Zayed continued to serve as the Receiver with regard to
Receivership matters other than Associated Banlc
3 According to the Bureau of Prison website (www.bop.gov), the release dates for the

perpetrators of this fraud are as follows: Cook, February 15, 2032; Kiley, December 17,
2029; Beclanan, July 30, 2038; Durand, November 12, 2029. Pettengill was released
from federal custody on July 13, 2018 after serving his sentence.




                                            3
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 5 of 20




       In March 2015, the SEC and CFTC filed dispositive motions in the civil cases.

Specifically, the SEC filed motions for summary judgment against Kiley and Beclanan,

as well as motions for the entry of consent judgments against Cook and the various other

Receiver Estates. The CFTC filed a motion for summary judgment against Kiley. All

motions included requests for permanent injunctive relief.

       Due to the pendency of the defendants' criminal appeals at the time the motions

were filed, the Court continued the hearings until the appellate process was complete. On

May 12, 2015, the Eighth Circuit affirmed the criminal convictions and sentences of each

defendant, United States ofAmerica v. Beckman et al., Nos. 13-1162, 1163, 2603, 2015

U.S. App. LEXIS 7805 (8th Cir. May 12, 2015), and on October 5, 2015, the United

States Supreme Court denied Beckman's Petition for Writ of Certiorari, United States of

America v. Beckman et al., l 1-cr-192 at Dkt. 553. On January 12, 2016, the Court

granted the SEC and CFTC's motions for summary judgment and entered final judgment

as to all defendants in the civil actions.

       The Court closed the civil actions brought by the SEC and CFTC, but ordered the

powers and duties of the Receivership to remain in full force and effect unless or until

otherwise ordered.

       B.      The Receivership Orders

       The Comi issued Receivership Orders in each of the three actions. Specifically,

on November 23, 2009 the Comi entered an Order appointing the Receiver in SEC v.

Cook et al., for (1) the estates of Defendants Trevor G. Cook, Patrick J. Kiley; (2)

Defendants UBS Diversified Growth LLC, Universal Brokerage FX Management, LLC,




                                             4
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 6 of 20




Oxford Global Advisors, LLC, Oxford Global Partners, LLC; (3) Relief Defendants

Basel Group, LLC, Crown Forex, LLC, Market Shot, LLC, PFG Coin and Bullion,

Oxford Developers, S.A., Oxford FX Growth, L.P., Oxford Global Managed Futures

Fund, UBS Diversified FX Advisors, LLC, UBS Diversified FX Growth L.P., and UBS

Diversified FX Management LLC; (4) all funds, accounts, and other assets held by or for

Relief Defendants Clifford Berg and Ellen Berg, which were received, directly or

indirectly, from the Defendants or were acquired with funds or other assets received,

directly or indirectly, from the Defendants; and (5) every other corporation, partnership,

trust and/or other entity (regardless of form) which is directly or indirectly owned by or

under the direct or indirect control of Cook and Kiley (collectively the "Receiver

Estates"). Order Appointing Receiver, 09-cv-3333, Dkt. No. 13, at 4 (Nov. 23, 2009);

see also Amended Order Appointing Receiver, 09-cv-3333, Dkt. No. 18, at 4 (Nov. 24,

2009); Second Amended Order Appointing Receiver, 09-cv-3333, Dkt. No. 68 (Dec. 11,

2009).

         On November 23, 2009 the Court also entered an Order appointing the Receiver in

CFTC v. Cook et al., 09-cv-3332, for Defendants Trevor Cook d/b/a Crown Forex, LLC,

Patrick Kiley d/b/a Crown Forex, LLC, Universal Brokerage FX and Universal

Brokerage FX Diversified, Oxford Global Paiiners, LLC, Oxford Global Advisors, LLC,

Universal Brokerage FX Advisors, LLC f/k/a UBS Diversified FX Advisors, LLC,

Universal Brokerage FX Growth, L.P. f/k/a UBS Diversified FX Growth, L.P ., Universal

Brokerage FX Management, LLC, f/k/a UBS Diversified FX Management, LLC, and

UBS Diversified Growth, LLC, and their affiliates and subsidiaries, and all funds,




                                             5
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 7 of 20




properties, premises, accounts and other assets directly or indirectly owned, beneficially

or otherwise, by the Defendants individually or collectively, including, but not limited to,

investors' funds. Ex Parte Statutory Restraining Order, 09-cv-3332, Dkt. 21, at 7 (Nov.

23, 2009); see also Order Continuing Appointment of Temporary Receiver, 09-cv-3332,

Dkt. 96 (Dec. 11, 2009).

       On March 8, 2011, the Court entered an Order appointing the Receiver in SEC v.

Beckman, et al., for (1) the estate of Jason Bo-Alan Beckman; (2) The Oxford Private

Client Group, LLC; (3) all funds, accounts, and other assets held by or for the benefit of

Relief Defendant Hollie Beckman which were received, directly or indirectly, from the

Defendants or were acquired with funds or other assets received, directly or indirectly,

from the Defendants; and (4) every other corporation, company, partnership, trust and/or

other entity (regardless of form) which is directly or indirectly owned by or under the

direct or indirect control of Defendant Beckman, Defendant Oxford PCG, or Relief

Defendant Hollie Beckman (collectively the "Receiver Estates"). Order Appointing

Receiver, 11-cv-574, Dkt. 10, at 1-2 (March 3, 2011).

       The above-referenced Orders in these three cases are collectively referred to in this

report as the "Receivership Orders."

       Among other things, the Comi's Receivership Orders require the Receiver to:

       A.      Take exclusive custody, control, and possession of all funds, property, and
       other assets in the possession of, or under the control of the Defendants wherever
       situated that he has a reasonable a basis to believe is related to this action, and that
       is consistent with this Comi's orders. The Receiver will also take exclusive
       custody, control, and possession of all customer funds and property and other
       assets traceable to customers that are in the possession of, or under the control of
       Defendants. The Receiver shall have full power to sue for, collect, receive and




                                               6
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 8 of 20




         take possession of all goods, chattels, rights, credits, moneys, effects, land, leases,
         books, records, work papers, and records of accounts, including computer-
         maintained information and digital data and other papers and documents of
         Defendants, including documents related to customers or clients whose interests
         are now held by or under the direction, possession, custody or control of the
         Defendants.

         B.    Preserve, hold and manage all receivership assets, and perform all acts
         necessary to preserve the value of those assets, in order to prevent any loss,
         damage or injury to customers or clients;

         C.    Prevent the withdrawal or misapplication of funds entrusted to the
         Defendants and otherwise protect the interests of customers or clients;

         D.     Collect all money owed to the Defendants;

         E.     Initiate, defend, compromise, adjust, intervene in, dispose of, or become a
         party to any actions or proceedings in state, federal or foreign jurisdictions
         necessary to preserve or increase the assets of the Defendants or to cany out his or
         her duties pursuant to this Order.

Order Continuing Appointment of Temporary Receiver, 09-cv-3332, Dkt. 96 (Dec. 11,

2009).

         In addition to the Receivership Orders, the Court entered Orders freezing the

assets of the Defendants and Relief Defendants named in the three actions, wherever such

assets were located.

II.      MOTION TO APPROVE THE RECEIVER'S FINAL REPORT AND
         INTERIM FINAL ACCOUNTING

         As noted above, since November 2009, the work of the Receiver has been

consistently reported to the Court and the public in Status Reports and numerous

additional public filings and hearings. All such filings have been made pmi of the public

record on this Court's docket and posted on the Receiver's web site.




                                                7
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 9 of 20




       The Receiver now proposes to make a Final Report and Interim Final Accounting

("Final Report") to the Court, which is attached as Exhibit A to the Declaration of Tara

C. Norgard filed herewith. The proposed Final Report summarizes all activities of the

Receiver since the inception of the Receivership and also includes an Interim Final

Accounting. With the goal of providing the Court and the public with the most complete

report on the finances of the Receivership at its anticipated close, the Interim Final

Accounting includes proposed line items for the disbursements associated with the co-

pending Fee Petition for accrued professional fees and services and for the proposed

Closure Plan outlined below.

       As detailed in that Interim Final Accounting, the Receiver has recovered a total of

$21,661,715.86 in liquidated assets for the Receivership Estate. Of that total, and

assuming the proposed distribution and payment of the co-pending Fee Petition noted

above, the Receiver will have made distributions to the victims of this fraud totaling

$11,707,778.20 in cash and credits, paid $10,029,734.20 in professional fees and

necessary costs and expenses. (Norgard Deel., Ex. A, Appdx. 1.)

       The Receiver respectfully requests that the Court approve the Receiver's proposed

Final Report and Interim Final Accounting at this time. As described in Part V, infra, as

part of the closure process the Receiver proposes to make a Supplemental Final

Accounting when all remaining closure activities are complete and any pending liabilities

are finalized.




                                              8
       CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 10 of 20




III.    MOTION FOR ENTRY OF A FIFTH AMENDED FINAL CLAIMS LIST

        The Receiver respectfully moves the Court for an Order entering the Receiver's

proposed Fifth Amended Final Claims List. The Receiver's claim recognition,

finalization, and amendment process has been detailed in numerous Court filings and

Orders. That process is also summarized in the Receiver's proposed Final Report. The

proposed Fifth Amended Final Claims List, which is filed as Exhibit B to the Norgard

Declaration, sets forth the recognized claim amounts for 73 7 investors in this fraud, and a

total of $160,697,655.32 in recognized claims. 4 These claim amounts are used as the

basis for calculating each investor's pro rata share of the civil restitution distributed by

the Receiver.

        The proposed Fifth Amended Final Claims List makes two kinds of updates from

the Fourth Amended Final Claims List, which was entered by the Court March 30, 2017.

Neither of these updates impacts the number of Recognized Claims or the total amount of

those claims.

        First, the proposed Fifth Amended Final Claims List is updated with all known

cmTent contact information for investors with Recognized Claims. From the onset of the

Receivership, the Receiver has worked with investors to ensure that their contact

inf01mation remains cmTent with the Receiver. This has been done through the

Receiver's proactive efforts, i.e., in conducting research and outreach when distribution


4
  To protect the private financial info1mation of the investors, and consistent with prior
filings, each claim is identified by number on the public docket. The names and
addresses of the individuals associated with the claims identified in the Fifth Amended
Final Claims List are being provided to the Court in camera. (Norgard Deel.~ 3.)



                                              9
      CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 11 of 20




checks have been returned to the Receiver through United States mail, and in

coordination with investors who have contacted the Receiver's office. As a result of

these ongoing efforts, the Receiver has been able to ensure that as many victims as

possible have been able to receive and cash their distribution checks.

       Second, the proposed Fifth Amended Claims List reflects all Court Orders

granting investors' petitions for name changes and divisions of claims. Such petitions

have arisen, for example, in instances where the original investor had passed and proper

documentation was provided to the Court to transfer the claim to the estate or heir(s) of

the investor.

       The Receiver respectfully requests that the Court approve the proposed Fifth

Amended Final Claims List, which is filed as Exhibit B to the Norgard Declaration,

setting forth the recognized claim amounts for 73 7 investors in this fraud, and a total of

$160,697,655.32 in recognized claims.

IV.    MOTION TO APPROVE FINAL DISTRIBUTION

       The Receiver proposes to make a final pro rata distribution, in the form of checks

and credits, of approximately $400,000.00 to claimants identified on the proposed Fifth

Amended Final Claims List. With this Final Distribution, the Receiver seeks to disburse

substantially all remaining funds of the Receivership, including funds that remain

unclaimed from the Receiver's prior distributions.

       More specifically, the Receiver's cash on hand includes $126,933 .74 representing

checks from the Receiver's prior distributions that remain uncashed. (Norgard Deel., Ex.

A, Final Report at Appendix 1.1.) These uncashed checks generally fall into four




                                             10
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 12 of 20




categories.

       First, $48,467.75 in uncashed checks remain from the Fourth Interim Distribution,

in which funds from the Receiver's settlement with NRP Financial ("NRP") and Western

International Securities, Inc. ("Western") were distributed to the victims of this fraud.

Investors were advised that by cashing the Fourth Interim Distribution checks, they

forfeited any rights to pursue individual claims against NRP and Western. 5 On the other

hand, any investor who did not cash his or her check within ninety (90) days of issuance

would forfeit his or her claim to the Fourth Interim Distribution, but would retain the

right to pursue individual claims against NRP and Western. (Order Approving

Settlement and Barring the Filing and Prosecution of Released Claims Against Western

International Securities, Inc., 09-cv-3333, Dkt. 924. 6 )

       Second, a small number of investors advised the Receiver that they declined to

cash distribution checks for personal tax or accounting reasons.

       Third, as noted above and detailed in the Receiver's proposed Final Report,

throughout the Receivership, the staff of Carlson Caspers has worked to locate victims

whose distribution checks were returned as undeliverable from the United States Post

Office. Many investors and heirs were found through these efforts. Nevertheless, and

despite these ongoing best efforts over the course of many years, no updated contact


5
  In accordance with the te1ms of the Receiver's settlements with those entities, two
separate checks were mailed to each investor for the Fomih Interim Distribution, one for
the settlement with Western and another for the settlement with NRP.
6 The majority of the Receiver's filings and related Comi Orders have been identically

filed in the three civil cases. For ease of reference, docket citations in this motion are
made to the SEC v. Cook, 09-cv-3333, unless otherwise noted.



                                               11
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 13 of 20




information or beneficiaries can be found for certain of these investors whose distribution

checks have been returned.

       The fourth and last general category of uncashed checks are those that have not

been returned to the Receiver but have never been cashed. The Receiver' s staff has also

undertaken a longstanding eff01i to contact these investors to determine if replacement

checks were needed. As with the returned checks, the Receiver' s staff was able to

contact many investors who had simply forgotten to cash distribution checks or never

received them in the mail. Yet here again, despite these ongoing and best eff01is, a

number of distribution checks remain unreturned and uncashed.

       A summary of the uncashed checks that remain from the Receiver's distributions

is found at Appendix 1.1 to the Final Rep01i. (Norgard Deel., Ex. A, Appx. 1.1.) In Paii

V, below, the Receiver moves to make a Final Distribution that includes funds that

remain in the Receiver's bank account from uncashed distribution checks.

       The distribution rate for the proposed Final Distribution would be approximately

0.28%, bringing the total distribution rate to approximately 8.00%, or approximately

eight cents for every dollar lost to the fraud. Checks to victims in this distribution would

range from approximately $26.02 to $16,108.96, with an average distribution amount of

about $562.59. If the Comi approves this Final Distribution, the Receivership's total

distributions to victims of the fraud would be $11,707,778.20. (Norgard Deel. ,-r 4.)

       Consistent with the Receiver's prior interim distributions, and the law of

restitution generally, claimants who have recovered lost funds from sources other than

the Receiver and have an overall recovery that exceeds the median distribution rate to all




                                             12
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 14 of 20




victims in these cases will be excluded from this distribution or have their pro rata shares

proportionately reduced so that the Receiver's distributions do not put any investor ahead

of the others in terms of recoveries. See generally 18 U.S.C. § 36640)(2) (explaining that

a victim's restitution is reduced by subsequent recoveries). Courts have consistently

found pro rata distributions to be appropriate, especially for fraud victims of Ponzi

schemes. Donel! v. Kawell, 533 F.3d 762, 776 (9th Cir. 2008) ("[C]ourts have long held

that is more equitable to attempt to distribute all recoverable assets among the defrauded

investors who did not recover their initial investments rather than to allow the losses to

rest where they fell."); SEC v. Credit Bancorp, Ltd., 290 F.3d 80, 88-9 (2d Cir. 2002); see

also Cunningham v. Brown, 265 U.S. 1, 13 (1924) (rejecting tracing "fiction" where

receivership fund consisted of money acquired by fraud perpetuated against many

victims); SEC v. George, 426 F.3d 786, 799 (6th Cir. 2005); SEC v. Forex Asset

Management LLC, 242 F.3d 325, 331-2 (5th Cir. 2001); CFTC v. Topworth

International, Ltd., 205 F.3d 1107, 1115-16 (9th Cir. 1999); United States v. Durham, 86

F.3d 70, 72-3 (5th Cir.1996); SEC v. Elliott, 953 F.2d 1560, 1569-70 (11th Cir. 1992).

       The Comi has wide latitude when it exercises its inherent equitable power in

approving a plan of distribution of receivership funds. SEC v. Forex Asset Mgmt. LLC,

242 F.3 325, 331 (5th Cir. 2001) (affirming district court's approval of plan of

distribution because the court used its discretion in "a logical way to divide the money.");

Quilling v. Trade Partners, Inc., 2007 WL 107669, * 1 (W.D. Mich. 2007) (same). In

approving a plan of distribution in a receivership, "the district court, acting as a comi of

equity, is afforded the discretion to determine the most equitable remedy." Forex, 242




                                             13
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 15 of 20




F.3d at 332. The Court may adopt any plan of distribution that is logical, fair, and

reasonable. SEC v. Wang, 944 F.2d 80, 83-84 (2d Cir. 1991); Basic Energy, 273 F.3d at

671; Quilling, 2007 WL 107669at*1. The district court's choice of distribution plan is

reviewed for abuse of discretion. SEC v. Fischbach Corp., 133 F.3d 170, 175 (2d Cir.

1997) (holding that "the district comi's distribution plan will not be disturbed on appeal

unless that discretion has been abused").

       The proposed Final Distribution is consistent with the interim distributions that the

Court has previously approved. The Receiver believes that the Final Distribution

proposed in this motion is logical, fair, and reasonable in that it seeks to distribute

substantially all of the remaining funds to the victims of this fraud and their known heirs.

V.     MOTION TO APPROVE CLOSURE PLAN

       The Receiver respectfully submits that the duties and responsibilities set f01ih in

the Comi's Receivership Orders are substantially complete. The Receiver's investigation

of the assets and affairs of the Receiver Estates has concluded. All meaningful

Receivership assets of value known to the Receiver have been seized and liquidated. All

litigation involving the Receiver has been resolved. There are no remaining collectable

judgments or debts to be paid to the Receiver. 7 As such, the Receiver submits that it is

appropriate to close the Receivership at this time and hereby moves for the Comi's

approval of the plan set forth below to close the Receivership ("Closure Plan"). The

Receiver respectfully submits that the proposed Closure Plan will promote the orderly


7
 This does not include civil disgorgement and criminal restitution judgments against
Defendants and Relief Defendants owed to the government and government agencies.



                                              14
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 16 of 20




and prompt wind up of this Receivership in an expeditious and cost-effective manner

while ensuring fulfillment of the Court's Receivership Orders and all applicable laws and

regulations.

       The Court's power over an equity receivership and to determine appropriate

procedures for administering a receivership is "extremely broad." SEC v. Hardy, 803

F.2d 1034, 1037 (9th Cir. 1986); see SEC v. Basic Energy, 273 F.3d 657, 668 (6th Cir.

2001); SEC v. Elliott, 953 F.2d 1560, 1566 (I Ith Cir. 1992). The primary purpose of an

equity receivership is to promote the orderly and efficient administration of the estate for

the benefit of the creditors. See Hardy, 803 F.2d at 1038. The Receiver respectfully

submits that the Closure Plan presented herein best serves this purpose.

       A.      Pay Accrued and Fees and Expenses

       In the contemporaneously filed Fee Petition, the Receiver seeks authority to pay

accrued fees and costs for professional services from March 1, 2019 through November

24, 2019 in the total amount of $82,547.90.

       The Receiver anticipates certain final fees and expenses to be incurred in

implementing the Closure Plan proposed in this motion. Those anticipated fees and

expenses are accounted for in the Closure Reserve outlined below. The Receiver

proposes to file a Final Fee Petition, to be paid from the Closure Reserve outlined in Part

V.B., after all final steps in the Closure Plan are complete.

       B.      Establish Closure Reserve and Pay Any Final Tax Obligations

       The Receiver seeks authority to maintain a closure reserve with remaining funds

of approximately $52,000.00 to pay any final tax obligations associated with this




                                              15
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 17 of 20




Receivership and the fees and costs associated with closure ("Closure Reserve"). The

Receiver seeks fmiher authority in the present motion to pay any such tax obligations

directly from the Closure Reserve, without fmiher Order from the Comi.

       As soon as any such final tax obligations have been paid or otherwise settled, the

Receiver proposes to submit a Supplemental Final Accounting, make a final Fee Petition,

and submit a proposed Order for Final Closure.

       C.     Dispose of Documents and Other Miscellaneous Property

       In connection with this Receivership, the Receiver has seized and otherwise

accumulated a significant amount of documents and unsaleable miscellaneous things that

are located in the Receiver's office and in an off-site storage facility. To avoid the

continued cost of storing these documents and things, as paii of the Closure Plan the

Receiver now seeks authority to destroy or otherwise dispose of all documents and other

items relating to the Receivership. 8

       D.     Close Receiver Website, Email Address, and Hotline

       From the onset of this Receivership, the Receiver has maintained a website and

dedicated email address and phone line to communicate with investors and to provide

open and transparent rep01is and information about the Receiver's activities. A

compilation of that website is provided as Appendix 2 to the Receiver's proposed Final

Report. (Norgard Deel., Ex. A at Appx. 2.)




8The Receiver will maintain requisite books and records from the operations of the
Receivership for the period proscribed by relevant federal and state tax laws.



                                             16
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 18 of 20




       The website is currently paid for and scheduled to remain active through April 8,

2020. After that time, an annual renewal fee of about $600.00 would be due to maintain

the website going forward. The Receiver submits that the utility of the website will have

run its course by April 2020 and that future payment for and maintenance of the site is

not wa1Tanted. The Receiver therefore proposes to maintain the website until April 2020

and to close down the site at that time, along with the Receiver's dedicated phone line

and email address.

       E.     File Supplemental Final Accounting, Final Fee Petition, and Proposed
              Final Order for Closure

       In addition to effectuating the proposed Final Distribution and the closure

activities outlined above, the Receiver anticipates two final remaining activities, namely,

(1) preparing and filing a Supplemental Final Accounting that updates Interim Final

Accounting with the Final Distribution, payment of any final tax obligations, and

payment of final professional fees and services, and (2) preparing and filing a proposed

Final Closure Order.

       Although the closure activities outlined in this motion will be largely complete in

early 2020, the timing of the Supplemental Final Accounting and proposed Final Closure

Order will depend on the timing of the finalization of any remaining tax liabilities. The

Receiver has been advised that due to the timing of tax filings and IRS regulations

governing responsive actions, such finalization may not be complete until 2021.

       To the extent any funds remain in the Receiver's account after payment of final

fees, expenses, and tax liabilities, the Receiver's proposed Final Closure Order will




                                             17
     CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 19 of 20




request that any such remaining balance be remitted the SEC for distribution to the

United States Treasury.

          F.     Cease Any Further Activities

          With the exception of the activities outlined above, the Receiver respectfully

submits that his duties and obligations under the Court's Receivership Orders are

complete. As such, the Receiver's Closure Plan submits that the Receiver will cease any

further activities that are not otherwise ordered by the Court.

                                        CONCLUSION

          The Ponzi felons who perpetrated this Ponzi Scheme caused enormous financial

and personal destruction to countless lives. By establishing this Receivership, the Court

and the government agencies that brought the civil cases have ensured that the fullest

possible extent of recovery could be delivered to the victims of this fraud. Having now

completed the investigative and asset recovery tasks set forth in the Court's Receivership

Orders, the Receiver respectfully submits that it is in the best interest of the victims of

this fraud to wind down and close the Receivership as set forth in the motions detailed

herein.




                                               18
   CASE 0:11-cv-00574-MJD-FLN Doc. 799 Filed 12/02/19 Page 20 of 20




Dated: December 2, 2019         Respectfully submitted,
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                                  19
